            Case 18-13975-elf        Doc 71     Filed 08/13/19 Entered 08/13/19 17:32:46     Desc
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                          UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:
                                                        Chapter 13

                                                        Bankruptcy No. 18-13975-ELF


         ALICIA CANALES
         JOSE CANALES
         7313 CHESTNUT STREET

         ELKINS PARK, PA 19027

               Debtor

                                          CERTIFICATE OF SERVICE


        AND NOW, comes William C. Miller, Esquire, Chapter 13 standing trustee, and certifies that he served
the attached Motion to Dismiss on the following parties as indicated below:

   Debtor(s), at the address listed, by first class mail.

         ALICIA CANALES
         JOSE CANALES
         7313 CHESTNUT STREET

         ELKINS PARK, PA 19027


Counsel for debtor(s), by electronic notice only.

         ALAN D BUDMAN
         1150 OLD YORK RD
         2ND FLOOR
         ABINGTON, PA 19001
                                                        /S/ William C. Miller
Date: 8/13/2019                                         ______________________________
                                                        William C. Miller, Esquire
                                                        Chapter 13 Standing Trustee
